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                                                 Resurrecting Address Clustering in Bitcoin

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                                                  Abstract. Blockchain analysis is essential for understanding how cryp-
                                                  tocurrencies like Bitcoin are used in practice, and address clustering is
                                                  a cornerstone of blockchain analysis. However, current techniques rely
                                                  on heuristics that have not been rigorously evaluated or optimized. In
                                                  this paper, we tackle several challenges of change address identification
                                                  and clustering. First, we build a ground truth set of transactions with
                                                  known change from the Bitcoin blockchain that can be used to validate
                                                  the efficacy of individual change address detection heuristics. Equipped
                                                  with this data set, we develop new techniques to predict change outputs
                                                  with low false positive rates. After applying our prediction model to the
                                                  Bitcoin blockchain, we analyze the resulting clustering and develop ways
                                                  to detect and prevent cluster collapse. Finally, we assess the impact our
                                                  enhanced clustering has on two exemplary applications.


                                            1   Introduction

                                            Blockchain analysis techniques are essential for understanding how cryptocurren-
                                            cies like Bitcoin are used in practice. A major challenge in analyzing blockchains
                                            is grouping transactions belonging to the same user. Users can create an unlimited
                                            amount of addresses to receive and send coins. As a result, their activity is often
                                            split among a multitude of such addresses. Address clustering heuristics aim
                                            to identify addresses under an individual user’s control based on assumptions
                                            about how wallets create transactions. As the term heuristic suggests, address
                                            clustering today is more intuitive than rigorous; our overarching goal in this
                                            paper is to elevate it to a science.
                                                There are at least four applications for which accurate address clustering is
                                            important. First, a law enforcement agency may be interested in evaluating the
                                            transactions of a specific entity. They may supplement their own investigation
                                            with a set of reliable heuristics to identify relevant transactions. Second, and
                                            conversely, the ability to accurately determine a user’s transactions directly
                                            impacts their privacy. This tension between law enforcement needs and everyday
                                            users’ privacy is inherent to cryptocurrencies due to their transparency and
                                            pseudonymity. Advocates from one side push for greater privacy and from the
                                            other side for stronger regulation. To better understand this tug-of-war, it is
                                            important to quantify how reliable change address heuristics are in practice. Third,
                                            accurate grouping of transaction activity is important for aggregate analyses such
                                            as studying economic activity over time. This usually requires a full clustering
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                    A      C             C      E             E      G

                    B      D                    F                    H

                  Inputs Outputs       Inputs Outputs       Inputs Outputs


   Fig. 1. The multi-input heuristic clusters addresses of inputs jointly spent in
   the same transaction. It does not cluster addresses that are never co-spent with
   other addresses (such as C and E).


   of all addresses on the blockchain. Finally, the unique challenges of address
   clustering may be interesting for researchers outside of cryptocurrencies. For
   example, it may pose as an application domain for machine learning models and
   could be used as a benchmarking application.
       The current state of address clustering techniques available to researchers is
   sub-optimal in multiple ways. The most common heuristic, multi-input, groups
   addresses that are jointly used in inputs of a transaction [31, 32]. This heuristic
   is easy to apply, moderately effective in practice [15], and widely used. However,
   it misses addresses that are never co-spent with other addresses (cf. Figure 1).
       Many of these addresses can be clustered using change address heuristics:
   as coins in Bitcoin cannot be spent partially, transactions return the surplus
   value back to the sender. Identifying the change output thus allows grouping the
   associated address with the inputs’ addresses. However, as the Bitcoin protocol
   does not explicitly distinguish between change and spend outputs, heuristics need
   to be used to identify them.
       While the importance of change address identification and clustering has been
   demonstrated empirically and through simulation [1, 25], it remains difficult to
   assess how well it works in practice. A major issue is that researchers currently
   lack ground truth data on change outputs to assess the accuracy of individual
   heuristics. We are only aware of one prior study from 2015 that exploited
   weaknesses in a lightweight client [28], which allowed to extract the addresses of
   37 585 wallets to assess four different clustering heuristics. Blockchain intelligence
   companies might possess manually curated and refined data sets and clusterings,
   but their techniques and data aren’t openly available to researchers (or only
   shared in limited form, e.g., [14, 37]). As a result, analyses of new heuristics
   often fall short of quantifying their accuracy and resort to analyzing the resulting
   clusterings only (e.g., [7, 38]). Furthermore, clustering is applied inconsistently
   across studies: many forgo change address clustering entirely (e.g., [18, 19, 22,
   33]), whereas some simply apply a single change heuristic (e.g., [8, 29]).
       Considering this state of affairs, our goals in this paper are to address the
   lack of ground truth data and assessment methods, develop new techniques to
   apply heuristics to predict change and use them to create improved clusterings.
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   Contributions, methods and findings.
    1. A new ground truth method and dataset: We put forward a procedure
       to select and filter transactions for which the change output has been revealed
       on the blockchain. Our approach exploits that future transactions of users can
       reveal change outputs in past transactions. We extract a set of 35.26 million
       transactions, carefully filtered down from 53 million candidate transactions,
       that can be used as ground truth for validation and prediction. (Section 2)
    2. Evaluating existing heuristics: We’ve compiled and evaluate a set of
       26 change address heuristics based on previous literature and community
       resources. Most heuristics individually produce few false positives at low to
       medium true positive rates. We find that due to changes in the protocol
       and usage patterns, heuristics wax and wane in their effectiveness over time,
       showing the need to use multiple heuristics and combine them in an adaptive
       way rather than rely on a fixed algorithm. (Section 3.1)
    3. Improved prediction: We use a random forest classifier to identify change
       outputs and compare it against a baseline: the majority vote of individual
       heuristics. While machine learning has been used to classify the type of entity
       behind a transaction (e.g., [3, 14, 16, 18, 20, 36, 37]), to the best of our
       knowledge our work is the first to apply it to change identification. Our
       random forest model outperforms the vote, correctly detecting twice as many
       change outputs for low false positive rates. (Sections 3.2 to 3.4)
    4. Preventing cluster collapse: We find that a naive clustering of predicted
       change outputs leads to cluster collapse, despite using a high threshold to
       prevent false positives. We then apply constraints to the union-find algorithm
       underlying our clustering to prevent cluster collapse stemming from frequent,
       repeated interaction between entities. This prevents large-scale cluster collapse
       while still enhancing a majority of the involved clusters. (Section 4)
    5. Assessing impact: We assess the impact our enhanced clustering has on two
       exemplary applications: cash-out flows from darknet markets to exchanges and
       the velocity of bitcoins. We find that the results of such typical longitudinal
       analyses are off by at least 11 % to 14 % if they don’t fully account for
       clustering. (Section 5)

   Limitations. Our results in this paper are limited by the availability of “real”
   (i.e. manually collected and validated) ground truth. As such, our analysis should
   be treated as a first step towards better understanding the feasibility of change
   address detection and clustering. However, we do not expect our high-level
   insights to change significantly in the light of minor corrections to our ground
   truth data set. We make our data set publicly available to allow other researchers
   to evaluate it using their own private ground truth or analysis techniques.
        Our extraction mechanism relies on change outputs revealed by the multi-
   input heuristic. This heuristic is effective in practice [15] and widely used, but
   vulnerable to false positives from techniques like CoinJoin and PayJoin that are
   intentionally designed to break the heuristic (e.g., [9, 23, 24, 26]). While we take
   measures to detect CoinJoin transactions and pre-existing cluster collapse, some
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                                               Fig. 2. The multi-input heuristic adds ad-
        A      C             C       E         dress C to the same cluster as addresses A
                                               and B, thereby revealing it as the change
        B      D             A       F         address of the first transaction.

    Inputs Outputs          Inputs Outputs




   errors can remain. Furthermore, entities that more effectively prevent address
   reuse are less likely to be included in our data set.


   2        Building a Ground Truth Data Set

   Core assumption. We focus on the feasibility of detecting the change output in
   Bitcoin transactions with exactly two spendable outputs, by far the most common
   type of transaction as of June 2021 (75.8 % of all transactions, see Figure 3). Our
   core assumption is that one of these outputs is a payment, and the other output
   receives the change. We call this type of transaction a standard transaction, as
   they are created by typical end-user wallet software.1
       For transactions with only one output there is no good indicator to directly and
   reliably determine whether the output belongs to the same user. The transaction
   may correspond to a user sweeping the balance of their wallet, but the destination
   address may not be under the same user’s control (e.g., it could be managed by
   a cryptocurrency exchange).
       Transactions with more than two outputs are less likely to originate from
   an ordinary wallet. They may belong to an exchange that batches payouts to
   multiple users, or correspond to a restructuring of their hot and cold wallets. Our
   assumption that exactly one of the outputs receives change may not hold here.


   Method. Our approach leverages that change outputs are sometimes revealed
   by the multi-input heuristic at a later point in time due to address reuse. Figure 2
   shows how such disclosure may unintentionally happen: a user spends coins at
   addresses A and B, their wallet directs the change to a new address C. Later,
   they spend the change at address C along with other coins at address A. At this
   point, the multi-input heuristic reveals that A, B and C belong to the same user,
   thus C is the change address in the first transaction. By identifying transactions
   that have their change revealed in this way, we can build a ground truth set of
   transactions with known change.


   Comparison to interactive collection. In contrast to prior deanonymization
   studies (e.g., [25]) our primary interest is not in identifying address clusters of
   specific entities but to identify change outputs in their transactions. To achieve
    1
        Our definition is unrelated to the isStandard test in the Bitcoin reference implemen-
        tation that checks whether a transaction uses common script types.
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   this interactively, we would need to induce them to make a transaction to an
   address under our control. This would likely yield inferior ground truth:

    – Heterogeneous ground truth requires transactions from a variety of different
      use cases, entities and wallets. We would only be able to directly interact
      with some types of intermediaries (such as exchanges). Our non-interactive
      method, instead, is not limited to a small set of intermediaries of our choosing.
    – Interactive collection would be hard to scale beyond a few hundred transac-
      tions, as we would have to individually engage with the intermediaries. Our
      non-interactive approach instead yields a data set of millions of transactions.
    – Interactive collection cannot be done retroactively and is therefore limited
      to a short, current time frame. The resulting data set wouldn’t capture
      shifting patterns over different epochs of Bitcoin’s history. Our non-interactive
      approach however can be applied to Bitcoin’s entire history.

       Our method has a few important limitations. First, because we extract ground
   truth data non-interactively from the blockchain, we are not able to fully verify
   its correctness. Second, our core assumption that exactly one of the outputs
   belongs to the user may not hold in every scenario. For example, a user sending
   funds to an address under their control could lead to ambiguous or incorrect
   labeling of change outputs. We take specific care to remove transactions likely to
   violate the core assumption in this way. Similarly, there could be instances where
   none of the outputs is a change output. As this would require a user to make
   a payment to two different entities using a perfectly matching set of inputs, we
   expect it to be rare. Third, our ground truth set could be biased towards entities
   or wallet implementations that are more prone to reuse and merge addresses.


   2.1   Data collection and overview

   We use and build upon BlockSci v0.7 [19], an open-source blockchain analysis
   framework that provides fast access to blockchain data upon which we implement
   custom heuristics and extraction procedures. We parse the Bitcoin blockchain
   until the end of June 2021 (block height 689 256) and create a base clustering using
   the multi-input heuristic (where we heuristically exclude CoinJoin transactions).
        As of June 2021, the blockchain contains 91 million transactions with one
   output, 495 million with two outputs, and 67 million with three or more outputs
   (see Figure 3). We divide the transactions into mutually exclusive categories.
   Transactions with unspendable OP_RETURN outputs often signal the use of an
   overlay application that stores metadata in the blockchain [4]. Such transactions
   may follow unique rules for their construction, potentially making change detection
   unreliable. Transactions directly reusing an input address have their change output
   trivially revealed and applying change heuristics is not necessary. We thus focus on
   transactions where the change has been revealed by the multi-input heuristic and
   use them to construct our ground truth data set. For the remaining transactions,
   i.e. those with yet unknown change, we will later predict their change output.
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                 1 Output (91 M)
                                                          Unspent outputs (1.08 M)
                                                          Two change candidates (1.4 M)
                                                          Potential false positives (0.45 M)
                2 Outputs (495 M)

               Address reuse: 103 M            15.17 M
                                                          Change address reuse
                                               (28.4 %)
              Cluster member: 53 M




             Unknown change: 310 M

                                               35.26 M
                                                          Final ground truth
                                                (66 %)

             Overlay applications: 28 M
                3+ Outputs (67 M)




   Fig. 3. Breakdown of different types of transactions in the Bitcoin blockchain
   until end of June 2021. Transactions with two outputs and change revealed
   through base cluster membership form the basis of our ground truth data, which
   we further refine to a final selection of 35.26 million transactions.


   2.2   Refining the candidate set of ground truth transactions
   Our candidate set of ground truth transactions consists of transactions with
   two outputs (ignoring overlay transactions) where no input address is reused for
   change and where at least one output is in the same base cluster as the inputs.
   This yields a total of 53.41 million transactions. We further filter them as follows
   (see Figure 3 for a visual breakdown, and Appendix A for additional details):
    1. We remove 1.08 million transactions with unspent outputs, as our subsequent
       analyses rely upon the spending transactions being known.
    2. For 0.97 million transactions both outputs are in the same base cluster,
       violating our core assumption. We remove these transactions. As some base
       clusters appear to be more likely to produce such transactions, we exclude
       transactions from base clusters where more than 10 % of transactions exhibit
       this behavior. This removes 0.48 million transactions in 9967 base clusters.
    3. We check our base clustering for preexisting cluster collapse, which could
       create false positives. We remove 0.37 million transactions belonging to the
       Mt.Gox supercluster (cf. [15]) as well as 0.09 million transactions from one
       possible instance of cluster collapse detected using address tags from the
       website WalletExplorer.com.
    4. We find many instances where the change address did not appear in the
       inputs, but had been used before and was known to be the change at the
       time the transaction was created through multi-input clustering. For example,
       there are 5.77 million transactions originating from the gambling service
       “SatoshiDice” that use only a total of 50 change addresses, and 1.27 million
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                                                                         Full chain                                                                       Full chain
                        108                                              Ground truth                        108                                          Ground truth
   Number of clusters




                                                                                        Number of clusters
                        106                                                                                  106

                        104                                                                                  104

                        102                                                                                  102

                        100                                                                                  100
                              100   101   102     103    104     105    106    107                                 100   101   102   103    104     105    106     107
                                                Addresses per cluster                                                                Transactions

   (a) Number of base clusters represented in (b) Number of transactions in ground truth
   our ground truth by total address count. and full blockchain per base cluster.

       Fig. 4. Address and transaction counts for base clusters in our ground truth.


                         transactions from “LuckyB.it” that use a single change address. For such
                         transactions, applying change address heuristics is never necessary. We remove
                         15.17 million transactions where the change output was already known at
                         the time the transaction was created.


   2.3                          Assessing the final set of ground truth transactions

   Scale and time frame. Our final ground truth set of 35.26 million transactions
   makes up about 7.6 % of standard transactions and about 5.4 % of all transactions.
   These percentages are relatively stable over time.


   Variety of included clusters. Our ground truth includes transactions from
   3.6 million base clusters. Figure 4a shows the distribution of address counts of
   base clusters that are represented with at least one transaction in our ground
   truth. Our ground truth contains transactions from base clusters of all sizes,
   giving us confidence that it can be representative of the blockchain overall.
       Figure 4b shows the number of transactions per base cluster included in the
   ground truth compared to the total number of transactions per cluster, showing
   an overall similar distribution. The largest number of transactions from a single
   base cluster is 3.49 million, which has 8.85 million transactions in total. We did
   not find a label for it on WalletExplorer.com. The second highest number of
   transactions is 383 519, again from an unlabeled cluster.


   Transaction composition and use of protocol features. Compared to
   standard transactions with yet unknown change, our ground truth transactions
   have more inputs (38.9 % of transactions have three or more inputs, compared to
   7.6 % for the remaining transactions). This is an expected artifact of our selection
   method, which relies on transactions with more than one input to reveal change
   outputs. The share of transactions using SegWit serialization or allowing for fee
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   bumping (RBF) is also higher in the set of remaining transactions. In Appendix B
   we provide additional details on the characteristics of our ground truth data.


   2.4     Data release

   We make our ground truth data set publicly available to allow other researchers
   to evaluate it using their own tools and techniques.2 We believe that making this
   data public does not create significant new privacy risks: all information necessary
   to recreate the data set is already publicly available on the Bitcoin blockchain and
   our method—extracting change outputs revealed by the multi-input heuristic—is
   easy to reproduce with open-source tools like BlockSci.


   3      Predicting Change Outputs

   The Bitcoin protocol does not explicitly distinguish between change and spend
   outputs. However, wallets create change outputs automatically to return surplus
   value when users make payments. This allows to guess the change using a variety
   of heuristics targeted at identifying specific wallet or user behavior.
       In this paper we evaluate two general types of heuristics. Universal heuristics
   use characteristics of the transaction and change output to determine the change.
   For example, the address type of a change output is likely to match the address
   types of the inputs, and rounded output values may indicate spend amounts.
   Fingerprint heuristics determine change based on matching characteristics of the
   transactions spending the outputs. For example, if a transaction sets a positive
   locktime to prevent fee sniping [35] and only one of the outputs is spent in a
   transaction with the same behavior, it is likely the change. We are not aware of
   any prior work that has evaluated fingerprinting across the range of available
   protocol characteristics. In total, we use 9 variants of universal heuristics and
   17 variants of fingerprinting heuristics (cf. Table 1). To prevent cluster collapse,
   we explicitly encode our constraint that only one output can be the potential
   change: if both outputs are change candidates, none is returned by our heuristics.


   3.1     Assessing individual change heuristics

   In a first step we assess each of the heuristics using our ground truth data set.
   We find that most heuristics produce few false positives but often only apply to
   a small share of transactions (most heuristics have true positive rates between
   10 % to 30 %; detailed individual results are provided in Appendix D). Figure 5
   shows the average number of correct and incorrect predictions per transaction
   over time, grouped by the type of heuristic.
       We see three important trends: first, the universal heuristics drop over time,
   likely due to rounded values becoming less common. Second, the consistent
   fingerprint heuristics see a steady uptick in the number of correct votes, enabled
    2
        https://github.com/maltemoeser/address-clustering-data
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    Table 1. Change heuristics proposed in the literature and used in this paper.

   Heuristic                                    Notes and limitations                  Used
   Optimal change: There should be no un- Only applies to transactions with             X
   necessary inputs: if one output is smaller 2+ inputs. We use two variants, one
   than any of the (2+) inputs, it is likely the ignoring and one accounting for the
   change. [28, 30]                              fee.
   Address type: The change likely uses the False positives possible due to pro- X
   same address type as the inputs. [19, 30] tocol upgrades or obfuscation.
   Power of ten: As purchase amounts may We use six different variants, which           X
   be rounded, and change amounts depend on are partially redundant.
   the input values and fee, it is more likely to
   have fewer trailing zeros. [19, 30]
   Shadow address: Many clients automat- Modern wallets discourage reuse of             x
   ically generate fresh change addresses, receiving addresses. We do not use
   whereas spend addresses may be more easily the heuristic as our ground truth is
   reused. [1, 25]                            filtered based on address freshness.
   Consistent fingerprint: The transaction False positives are possible when a X
   spending a change output should share the wallet implementation or the proto-
   same characteristics [6, 30]. We use 17 vari- col change. We only consider char-
   ants based on the following characteristics: acteristics after they are available in
     – input/output counts and order             the protocol. Appendix C describes
     – version                                   the characteristics we use in more
     – locktime                                  detail.
     – serialization format (SegWit)
     – replace-by-fee (RBF)
     – transaction fee
     – input coin age (zero-conf)
     – address and script types
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                                    5
    Average votes per transaction   4
                                    3                                                        Universal: Correct
                                                                                             Universal: Incorrect
                                    2                                                        Fingerprint: Correct
                                                                       SegWit activation     Fingerprint: Incorrect
                                    1
                                    0
                                    2011 2012 2013 2014 2015 2016 2017 2018 2019 2020 2021
                                                               Year

    Fig. 5. Average number of correct and uncorrect votes per transaction and type
    of heuristic in the ground truth data set, over time


    by the increasing variety of protocol features available in Bitcoin over time. Finally,
    there’s an uptick in both correct and incorrect fingerprint votes starting in late
    2017, when wallet implementations started to switch to SegWit serialization and
    address formats (e.g., [5, 34]).
        For 858 582 transactions no heuristic returned a change output, we remove
    these from the subsequent analyses. When we later predict change outputs for
    the remaining standard transactions, we will also exclude transactions where no
    heuristic determined a potential change output.
        While most individual heuristics have high precision, they only cover a subset
    of transactions each. Furthermore, some heuristics may be more applicable during
    certain epochs of Bitcoin’s history than others. Given the variety of heuristics
    available to us compared to previous studies (e.g., an evaluation of three change
    heuristics in [28]), we now consider new ways of combining them.


    3.2                                 Threshold vote

    Figure 5 suggest that a majority of heuristics should generally identify the
    correct output. However, the number of heuristics returning an potential output
    varies among transactions, and individual heuristics could be incorrect. We thus
    compute a threshold vote: if at least t more heuristics vote for output a than for
    output b, then output a is considered the change. Increasing the threshold t thus
    allows the analyst to require higher degrees of confidence and thereby lower the
    risk of cluster collapse.
        We apply the threshold vote to our ground truth data set and plot the
    resulting ROC curve in Figure 6a (for comparison, we also show the FPR and
    TPR of each individual heuristic). We achieve an ROC AUC of 0.94, and, for
    example, a 37.0 % true positive rate (TPR) below a false positive rate (FPR) of
    0.1 % with a threshold of t = 7.
        Using a threshold vote may not be ideal as the individual heuristics have
    varying true positive and false positive rates, and some might be more or less
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                         1.0                                                                        1.0

                         0.8                                                                        0.8




                                                                               True Positive Rate
    True Positive Rate


                         0.6                                                                        0.6

                         0.4                                                                        0.4

                         0.2             Random forest (AUC = 0.9986)                               0.2
                                         Threshold vote (AUC = 0.9413)                                                 Random forest classifier
                                         Individual heuristics                                                         Threshold vote
                         0.0                                                                        0.0 5
                            0.0    0.2      0.4       0.6    0.8         1.0                          10    10 4     10 3 10 2 10 1           100
                                         False Positive Rate                                                       False Positive Rate

   (a) The random forest classifier outper- (b) The log scale highlights the difference
   forms the threshold vote and the individual between the classifiers for low false positive
   heuristics.                                 rates (on the same test set).

    Fig. 6. ROC curves for predicting change in the ground truth data set using the
    threshold vote and the random forest classifier, compared to individual heuristics.


    reliable during different periods of Bitcoin’s history. Rather, a specific subset of
    heuristics may provide better classification accuracy. Instead of manually trying
    different combinations, we opt to use a supervised learning classifier.

    3.3                        Random forest classifier
    We decide to use a random forest classifier to predict a transaction’s change
    output. A random forest is an ensemble classifier that trains and aggregates the
    results of individual decision trees. It is inherently well suited for our data set
    as it can divide it into homogeneous subsets, for example, based on protocol
    characteristics or time periods. In an initial comparison of supervised classifiers
    on our data it also achieved the highest ROC AUC score (cf. Appendix E).
        We model an output-based binary classification problem, where every output
    is either a change (1) or spend (0) output. An individual heuristic may produce
    one of three outcomes: vote for the output, against the output, or not be able to
    discern between the outputs. We further add characteristics about each output
    and corresponding transaction that may allow the random forest to differentiate
    between distinct types of transactions, or wallets (see Appendix E for details).
        As we consider an analyst who works with a static snapshot of the blockchain,
    we randomly split our data set into 80 % training and 20 % test set. We use the
    training set for hyperparameter tuning using 4-fold cross-validation, using the
    ROC AUC as our scoring metric. To account for the fact that transactions in the
    same base cluster may be highly similar, we explicitly ensure that all outputs of
    a base cluster remain in the same set and fold.
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        Applying the random forest model (RF-1) to the test set, we achieve an AUC
    of 0.9986 (Figure 6a). The model is able to detect a higher share of outputs,
    especially at low false positive rates, compared to the threshold vote.
        In Figure 6b we show the ROC curves of both the threshold vote and the
    random forest on the same test set, log-transforming the x-axis to highlight the
    important difference in low false positive rates (to prevent cluster collapse). The
    random forest achieves much higher true positive rates at low false positive rates,
    meaning that it correctly identifies the change output in a larger number of
    transactions. For example, if we target a false positive rate below 0.1 %, the
    threshold vote achieves a TPR of around 39 % at a FPR of 0.06 %. For the same
    FPR, the random forest achieves a TPR of 82 %, more than twice as high.
        We train a second random forest model (RF-2) without the fingerprint heuris-
    tics on transactions that contain predictions from the universal heuristics to later
    predict change in transactions with unspent outputs. Using a similar evaluation
    strategy as for the full model, the ROC AUC of this model is 0.9981.
        To ensure that the performance of our model is not dependent on the particular
    split and to determine its variance, we repeatedly split our ground truth data
    set into 80 % training and 20 % test set 20 times and train the random forest
    classifier using the previously determined hyperparameters. The average ROC
    AUC score on the test sets is 0.9974 (SD = 0.0016) for RF-1, and 0.9965 (SD =
    0.0036) for RF-2.
        We note one caveat: because the base clustering is incomplete, grouping
    transactions by their base cluster may not fully prevent homogeneous transactions
    from the same entity to appear in both sets. Yet, some of the variability we see
    comes from unusual clusters that do not appear in the respective training sets.
    Other researchers with private, more heterogeneous ground truth may be able to
    evaluate the degree to which this affects the overall performance of the model.


    3.4   Additional model validation

    We use two data sets to assess the performance of the random forest model trained
    on the entire ground truth data. First, we use 16 764 transactions identified by
    Huang et al. [17] as ransom payments related to the Locky and Cerber ransomware.
    Those payments were identified through clustering, transaction graph analysis
    and known characteristics of the ransom amounts. After removing non-standard
    transactions and those with revealed change output, we predict the change output
    for 11 196 transactions and achieve an AUC of 0.996.
        Our second data set is constructed using a GraphSense tagpack [12] that
    contains 382 tags for addresses of 273 distinct entities (such as exchanges or gam-
    bling services) extracted from WalletExplorer.com. We identify each associated
    cluster and then extract up to 1000 transactions occurring between the individual
    clusters, assuming that the output belonging to a different cluster is the spend
    output. After removing transactions with no predictions as well as those with
    revealed change output, we predict the change output for 268 774 transactions
    and achieve an AUC of 0.976.
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                                            spend, t1
                                            change, t2
                            Entity A                        Entity B

                                            change, t2
                            Entity A                        Entity B
                                            spend, t3

    Fig. 7. In the pictured scenarios our constrained clustering prevents the merging
    of clusters A and B due to conflicting types of payments between them.


    4     Clustering Change Outputs

    We now use our random forest models to enhance the base clustering by clustering
    change outputs. To this end, we predict the change outputs for 310 million stan-
    dard transactions with yet unknown change. We exclude 10.5 million transactions
    where no individual heuristic identified a change output and use RF-2 for 19.3
    million transactions with unspent outputs.
       To keep the likelihood of false positives low, we use a conservative probability
    threshold of pchange = 0.99.3 This gives us 155.56 million change outputs (for
    50.24 % of transactions). We then enhance the base clustering by merging the
    base cluster of the inputs with the base cluster of the change address in the order
    that the transactions appear on the blockchain.


    4.1     Naive merging leads to cluster collapse

    Naively clustering the identified change outputs reduces 184.3 million affected
    base clusters into 39.8 million enhanced clusters. However, it leads to severe
    cluster collapse: there is one large supercluster, containing the prior Mt. Gox
    supercluster, that contains 223.9 million addresses (a 1596 % increase) and 108.2
    million transactions (a 2500 % increase). Inspecting the 273 clusters labeled by
    the Graphsense tag pack, we find that 113 have been merged into the supercluster.


    4.2     Constraints prevent cluster collapse

    The majority of cluster merges involve address clusters from which only a single
    transaction originated. Here, the impact of a single misclassification is low unless
    a sequence of such merges collapses multiple larger clusters. At the same time,
    we observe a small number of merges that combine two large clusters. Imagine
    two large exchanges whose users frequently interact with each other. A single,
    misidentified change output could collapse their clusters.
    3
        This corresponds to a false positive rate of 0.044 % for RF-1. We use a threshold of
        0.997 for RF-2 to match the FPR.
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    Approach. We use this intuition to constrain which clusters we merge. While
    change outputs predicted by our model should be clustered, we can use predicted
    spend outputs to prevent cluster merges: the input cluster should not be clustered
    into the cluster of the spend. Given the probability pi returned by the random
    forest model for output i, we define two thresholds pchange and pspend such that
    if pi > pchange the clusters should be merged (as before), but if pi < pspend then
    the clusters should not be merged. In many cases, these constraints will prevent
    the spend and change output of a transaction to end up in the same cluster (cf.
    Figure 7).
        This approach is comparable to that by Ermilov, Panov, and Yanovich [10]
    to use address tags in combination with a probabilistic model to reduce the
    number of conflicting tags in the final clustering. However, public sources of
    address tags contain information on a limited number of intermediaries only. Our
    approach, instead, potentially covers all clusters appearing in the 310 million
    standard transactions, including those that may be hard to interact with (and
    identify) manually. Due to the size of our data set we only consider the binary
    case of preventing any potential conflict, accepting that we may prevent some
    valid merges in the process.
        We implement a constrained union-find algorithm that prevents merging two
    clusters related by a predicted spend output. For every spend from cluster cm to
    cluster cn , predicted with pi < pspend , we add a constraint to cluster cm that it
    must not be merged with cluster cn . Before merging two clusters, we the check
    the constraints of both clusters and skip the merge if it would violate them.



    Results. Using the same pchange = 0.99 and setting pspend = 0.01, the con-
    strained clustering prevents 413 608 merges that would have violated constraints
    and retains 231 340 more individual clusters than the unconstrained clustering.
        We find that the constraints prevent the previously observed severe cluster
    collapse. For example, the constrained clustering does not produce the large
    Mt. Gox supercluster: the cluster contains only 4.4 million transactions (a 6 %
    increase) and 14.5 million addresses (a 10 % increase). Assessing the 273 labeled
    clusters, there are seven instances where two labeled clusters were merged. We
    suspect that unusual types of payouts from these services might have triggered
    the collapse.
        The largest cluster in the constrained clustering contains 20.4 million trans-
    actions and 40.5 million addresses. Inspecting its composition, we find that it is
    the result of merging many small clusters (including 9 421 343 single-transaction
    clusters).
        Overall, in at least 90 % of merges the smaller cluster created at most one
    outgoing transaction, which highlights the usefulness of change address clustering
    to merge small clusters that are missed by multi-input clustering. The constrained
    clustering specifically prevents some of the largest merges observed in the naive
    clustering, thereby preventing cluster collapse.
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    Varying thresholds. We chose conservative thresholds in order to reduce the
    possibility of cluster collapse. At the same time, this means that fewer change
    outputs are being clustered than with lower thresholds. To assess the impact of
    varying thresholds, we create two additional constrained clusterings, one with a
    threshold corresponding to a 0.1 % FPR and one corresponding to a 1 % FPR.
    At 0.1 %, the number of collapsed clusters identified by the Graphsense tag pack
    increases to 12. At 1 %, however, there are already 60 instances of cluster collapse.
    This highlights the importance of using conservative thresholds to prevent cluster
    collapse.


    5     Impact on Blockchain Analyses

    Address clustering is a common preprocessing step before analyzing activity of
    entities on the blockchain. Using different change heuristics (or none at all) thus
    affects the outcome of these analyses.


    5.1   Increased cashout flows from darknet markets to exchanges

    We evaluate the impact of our enhanced clustering on analysing payment flows
    from darknet markets to exchanges. Such analyses are potentially relevant for
    cybercrime researchers, economists, regulators or law enforcement, highlighting
    the importance of address clustering for a variety of use cases. To identify relevant
    intermediaries, we use address tags in the GraphSense tag pack for 117 exchanges
    and 15 darknet markets.
        We extract the value of all outputs in transactions initiated by a darknet
    market that are sending bitcoins to an exchange, comparing the transaction
    volume calculated using our base clustering to that of our enhanced clustering.
    The median increase in value sent across all 15 markets amounts to 11.5 %.
    The total amount of bitcoins flowing from the darknet markets to exchanges
    increases from BTC 823 839 to BTC 937 330 (a 13.8 % increase). We provide each
    individual market’s increase in transaction volume in Appendix F.


    5.2   Improved estimate of velocity

   We replicate the analysis of velocity conducted by Kalodner et al. [19], an
   example for a longitudinal analysis of economic activity occurring on the Bitcoin
   blockchain. For this analysis, clustering is used to remove self-payments of users
   (such as change outputs), which would artificially inflate estimates of economic
   activity. The better and more complete our clustering, the more self-payments
   are removed and hence the lower the estimate will be.
       Our refined clustering reduces their estimate of bitcoins moved per day between
   January 2017 to June 2021 by about 11.9 %. We notice that the magnitude is
   quite similar to the impact on cash-out flows.
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    5.3   Comparison to the Meiklejohn et al. heuristic

    Finally, we compare our clustering to one created naively using the address
    reuse-based heuristic presented by Meiklejohn et al. [25], which has subsequently
    been used in other studies (e.g., [8, 29]). While the authors highlight the need
    for manual intervention to prevent cluster collapse, this is likely infeasible for
    analysts without in-depth domain knowledge or the right set of tools. The heuristic
    considers an output to be the change if its address has only been used a single
    time, based on common wallet behavior to not reuse change addresses.
        Applying the heuristic to standard transactions with unknown change pro-
    duces a supercluster containing 133.1 million transactions and 298.4 million
    addresses, with 177 tagged clusters ending up in the supercluster. The probability
    of two addresses being clustered together increases by a factor of 40 compared to
    our constrained clustering. Looking at the individual predictions, the heuristic
    differs on 1.9 million transactions out of an overlapping 81.1 million. The total
    pairwise difference in output values between those predictions amounts to BTC
    4.1 million, or USD 38.7 billion, a significant difference in economic activity that
    might be misattributed due to clustering.


    6     Conclusion
    Address clustering is an important cornerstone of many blockchain analyses. In
    this paper, we’ve taken a first step towards building better models that allow
    analysts to identify change outputs in transactions, enabled by a new ground
    truth data set extracted from the Bitcoin blockchain. Evaluating this data set,
    we find that for most transactions identifying the change address is feasible
    with high precision. Crucially, our work is the first to apply machine learning
    to the problem of change identification. We find that our random forest model
    outperforms a baseline voting mechanism, detecting twice as many change outputs
    when targeting low false positive rates. Turning to the subsequent clustering
    of change addresses, we’ve demonstrated that constraints based on our model’s
    predictions can prevent cluster collapse. Finally, we’ve explored the impact of
    our clustering on the outcome of economic analyses. We hope that our work will
    encourage and enable further research into address clustering.


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    A    Additional details: Filtering the ground truth data set
    Selecting transactions with two outputs, no OP_RETURN outputs, where no
    input address has been directly reused in the outputs and where at least one
    output is in the same base cluster as the inputs yields a total of 53.41 million
    transactions. We first exclude 1.08 million transactions with unspent outputs, as
    our subsequent analyses rely upon the spending transactions being known.

    Transactions with two change candidates. Out of the 52.33 million transactions
    with at least one change candidate, for 0.97 million transactions both outputs
    are in the same base cluster. This can happen when a user transfers funds to an
    address in their own wallet, an online service restructures their funds, or cluster
    collapse leads to merging of both outputs’ addresses. In a first step, we exclude
    all transactions with two change candidates.
        However, it is possible that there are yet unidentified transactions (due to
    an incomplete base clustering) where both outputs do belong to the same entity.
    This should occur only in rare cases, but there may be specific intermediaries that
    create such transactions more frequently. We therefore exclude all transactions
    from base clusters where more than 10 % of transactions exhibit such behavior.
    This removes an additional 480 845 transactions in 9967 base clusters from our
    ground truth.

    Potential false positives. A risk of using the base clustering to extract ground
    truth is that the multi-input heuristic could have produced false positives. For
    example, if a user Alice makes a payment to merchant Bob and their wallet
    addresses are incorrectly clustered together, her spend output could appear to
    be the change.
        To this end, we first remove 366 926 transactions belonging to the Mt. Gox
    supercluster (cf. [15]). Next, we spot-check our base clustering against the website
    WalletExplorer.com. For the 100 largest base clusters in our ground truth we select
    25 addresses at random and collect the tag (which is either explicitly named or
    pseudo-random) that WalletExplorer assigns to the address. In five instances, the
    addresses yield multiple tags. Four of these return only additional pseudo-random
    tags, which upon manual inspection we believe to be the result of a heuristic to
    not link addresses in transactions with large numbers of inputs. Only one base
    cluster contains addresses with two different named tags: “LocalBitcoins.com-old”
    and “AnxPro.com”. This could be a result of cluster collapse, or an instance of
    mislabeling on the side of WalletExplorer. We remove the 87 947 transactions from
    this base cluster from our ground truth. Overall, this check gives us confidence
    that our base clustering does not already include widespread cluster collapse.

   Change address reuse. Our initial selection removed transactions where the change
   address appeared in an input of the transaction. Yet, we find many instances
   where the change address did not appear in the inputs but had been seen before.
   For example, a base cluster labeled by WalletExplorer as the gambling service
   “SatoshiDice”, contains 5.77 million transactions that use only 50 different change
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    addresses. Similarly, there are 1.27 million transactions from a base cluster tagged
    as “LuckyB.it” that all use a single change address.4 In many of these cases, the
    change address could have already been revealed (before the transaction took
    place) through the multi-input heuristic.
        If the change is known at the time the transaction is created, applying
    change heuristics is unnecessary. In contrast, whenever a transaction uses a fresh
    address for change, it cannot possibly be revealed as the change at the time the
    transaction was created. With this intuition, we remove transactions with change
    addresses that were not freshly generated if, at the time they were included in the
    blockchain, the change had already been revealed by the multi-input heuristic.
    This removes a total of 15.17 million transactions (90.80 % of transactions with
    reused change addresses). Table 2 provides an overview of whether the change
    and spend addresses are fresh in our ground truth data.


    Table 2. Number of transactions (in million) in our ground truth data set with
    fresh or reused spend and change outputs.

                                              Spend
                                Change Reused Fresh Total
                                Reused 0.73 0.81 1.54
                                Fresh  19.38 14.34 33.71
                                Total      20.11 15.15 35.26




    B     Additional details: Assessing the final set of ground
          truth transactions
    Scale and time frame. Figure 8 shows the share of ground truth transactions
    of all transactions and standard transactions over time. Overall, the distribution
    is relatively stable.

    Transaction composition and use of protocol features. Table 3 compares
    characteristics of transactions in our ground truth data to those of standard
    transactions with yet unknown change, including the number of inputs as well
    as a number of important protocol features (an overview and description of the
    protocol characteristics used in this paper is available in Appendix C).

    C     Protocol characteristics used for fingerprinting
     – Input/output count: the number of inputs and/or outputs may indicate
       a wallet software’s behavior of creating transactions. While the number of
    4
        1NxaBCFQwejSZbQfWcYNwgqML5wWoE3rK4
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                                                   1.0
                                                                                  Share of all transactions
              Share of ground truth transactions                                  Share of standard transactions
                                                   0.8

                                                   0.6

                                                   0.4

                                                   0.2

                                                   0.0
                                                     2011 2012 2013 2014 2015 2016 2017 2018 2019 2020 2021
                                                                               Year

    Fig. 8. Share of ground truth transactions of all and standard transactions over
    time.




    Table 3. Comparison of transaction characteristics between ground truth trans-
    actions and transactions with 2 outputs for which change is unknown.

                                                         Characteristic Ground truth (%) Remaining (%)
                                                         1 Input              38.99             78.76
                                                         2 Inputs             22.09             13.61
                                                         3+ Inputs            38.92              7.63
                                                         Version = 1          79.83             80.68
                                                         Locktime > 0         25.25             24.60
                                                         RBF                   3.57              6.22
                                                         SegWit               18.30             27.10
                                                         n (in million)       35.26            309.65
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       inputs depends on the UTXOs available to the user, some commonly occurring
       patterns such as peeling chains ([25, 27]) have consistent input and output
       counts.
     – Version: BIP 68 [11] introduced relative timelocks for transactions, which
       requires transaction to set the transaction version to 2.
     – Locktime: Transactions can set a timelock such that they are valid only after
       the tip of the chain has passed a specific block height or timestamp. Some
       clients (e.g., Bitcoin Core) produce timelocked transactions by default to
       prevent fee-sniping [35].
     – Replace-by-fee (RBF): Transactions opting into the replace-by-fee policy can
       be replaced by a similar transaction paying a higher fee [13].
     – SegWit: Segregated witness [21] is a protocol update that enabled storing
       the inputs’ signatures outside of the transaction, thereby increasing available
       space in blocks. As the upgrade is backwards-comptabile, not all wallets
       produce SegWit transactions. A wallet might also be able to produce SegWit
       transaction, but may be required to use non-SegWit serialization if none of
       the inputs use SegWit. We call this behavior SegWit-conform.
     – Ordered inputs/outputs: BIP 69 [2] defines non-binding rules (i.e. not enforced
       by the consensus mechanism) for lexicographically sorting inputs and outputs
       in a transaction. (A limitation of our implementation is that it does not
       compare the raw scriptPubKey in case the output values are equal, as they
       are not available in BlockSci).
     – Zero-conf: Bitcoin user’s are encouraged to wait for up to six confirmations
       (about an hour) before accepting a payment, as there is a risk that funds might
       be double-spent. A transaction spending inputs without any confirmations
       indicates willingness to accept the double-spending risk, which could be
       specific to certain intermediaries.
     – Transaction fee: Bitcoin users pay transaction fees for their transactions to be
       included into the blockchain by miners. Some clients may pay the same exact
       fee (either absolute, or relative to the transaction’s size) for every transaction.
     – Multisignature: Multisignature scripts allow to specify a list of public keys
       and a threshold m such that the redeemer must provide valid signatures
       for m out of n of these keys. They aren’t typically used by normal end-user
       wallets.
     – Address types: Bitcoin Core defines a number of standardized output scripts
       types including Pay-to-Pubkey-Hash (P2PKH), Pay-to-Script-Hash (P2SH)
       as well as their respective SegWit variants (P2WPKH and P2WSH). Often,
       a wallet consistently uses a specific address type. (Compared to the normal
       address type heuristic, the fingerprint checks for overlap with the address
       types of all inputs of the spending transaction).
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    D    True and false positive rate of individual heuristics

    Table 4. True and false positive rates of each individual heuristic applied to
    transactions in our ground truth data set.
                                              Ground Truth Remaining
                    Heuristic                 TPR      FPR       Coverage∗
                    Universal heuristics
                    Optimal change       0.306         0.026        0.133
                    • incl. fee          0.239         0.020        0.096
                    Address type         0.237         0.031        0.369
                    Power of ten
                    • n=2                0.467         0.012        0.383
                    • n=3                0.420         0.006        0.311
                    • n=4                0.375         0.005        0.253
                    • n=5                0.302         0.006        0.173
                    • n=6                0.211         0.005        0.104
                    • n=7                0.107         0.001        0.048
                    Consistent fingerprint
                    Output count         0.283         0.129        0.445
                    Input/output count 0.263           0.107        0.568
                    Version              0.245         0.004        0.320
                    Locktime             0.307         0.003        0.363
                    RBF                  0.075         0.003        0.114
                    SegWit               0.191         0.021        0.260
                    SegWit-conform       0.021         0.001        0.028
                    Ordered ins/outs     0.262         0.053        0.443
                    Zero-conf            0.100         0.061        0.214
                    Absolute fee         0.117         0.025        0.305
                    Relative fee         0.042         0.008        0.204
                    Multisignature       0.140         0.001        0.154
                    Address type
                    • P2PKH              0.239         0.014        0.312
                    • P2SH               0.269         0.015        0.334
                    • P2WPKH             0.181         0.019        0.256
                    • P2WSH              0.063         0.007        0.082
                    All address types 0.294            0.023        0.392
                    ∗
                      Coverage denotes share of standard transactions with
                    yet unidentified change where the heuristic returned ex-
                    actly one output.



    E    Additional details: Random forest model
    Encoding. We transform our transaction-based predictions into an output-based
    binary classification problem. Every output is either a change (1) or spend (0)
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    output. An individual heuristic may produce one of three outcomes: vote for the
    output, against the output, or not be able to discern between the outputs. Due
    to the large size of the data set, we forgo one-hot encoding and instead use the
    following ordinal encoding for the heuristics:
     1 the heuristic votes for the output
     0 the heuristic votes neither for nor against the output
    -1 the heuristic votes against the output

    Additional characteristics. We add the following characteristics about each
    output and corresponding transaction that may help the classifier differentiate
    between distinct types of transactions, or wallets.

     – Ratio of output’s value to total transaction value
     – Output index
     – Total transaction value
     – Transaction fee paid per byte
     – Version number
     – Non-zero locktime
     – SegWit serialization
     – Number of inputs
     – Time of inclusion (as epochs of 1008 blocks, about one week)

    Baseline ROC AUC scores for different classifiers. Initial runs were done
    for a baseline comparison without hyperparameter tuning. We note that our
    encoding may not be ideal for some classifiers, specifically for attributes that
    allow to subdivide behavior between different clients and epochs. This is a major
    limitation of linear models and one of the primary reasons we choose a random
    forest model, as it is able to split the data set along those attributes.

     – Logistic regression (l2 penalty): 0.9933
     – Support Vector Machine (linear kernel): 0.9931
     – Adaboost: 0.9926
     – Random forest: 0.9982

    Hyperparameter tuning for the random forest classifier. Our hyperpa-
    rameter grid search returns the following parameters:
     – All heuristics / full model
        • max_features: 7
        • min_samples_leaf: 10
        • min_samples_split: 20
     – Universal heuristics only
        • max_features: 6
        • min_samples_leaf: 10
        • min_samples_split: 20
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    F    Change in transaction volume between darknet
         markets and exchanges

   Table 5. Change in outgoing transaction volumes of darknet markets (most of
   which were active between 2013 and 2016) to exchanges using the base clustering
   (before) and our enhanced clustering (after).
                                       Volume (BTC)
                  Tag name             Before After Change (%)
                  abraxasmarket       21 925 23 368         6.58
                  agoramarket        158 360 170 970        7.96
                  alphabaymarket      35 496 41 573        17.12
                  babylonmarket          222     283       27.13
                  blackbankmarket      8292 9245           11.49
                  blueskymarket        2520 3333           32.3
                  cannabisroadmarket       6       7       25.15
                  doctordmarket          224     277       23.92
                  evolutionmarket     49 891 84 637        69.64
                  middleearthmarket 11 793 12 021           1.93
                  nucleusmarket       45 265 47 006         3.85
                  pandoraopenmarket    8708 9461            8.64
                  sheepmarket         12 104 13 309         9.96
                  silkroad2market     47 292 49 559         4.79
                  silkroadmarket     421 741 472 282       11.98
                  Total                823 839 937 330     13.78
